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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                Electronically filed March 1, 2022
IN RE UPSTREAM ADDICKS AND                      )
BARKER (TEXAS) FLOOD-CONTROL                    )
RESERVOIRS                                      )
                                                )      No. 17-cv-9001L
V.                                              )
                                                )
THE UNITED STATES                               )
                                                )      Senior Judge Charles F. Lettow
THIS DOCUMENT RELATES TO:                       )
                                                )
ALL UPSTREAM CASES                              )
                                                )


                       JOINT PROPOSED PRE-TRIAL SCHEDULE

       Pursuant to the Court’s Order of February 14, 2022 (ECF No. 440), the parties have

conferred and propose the following revised pretrial schedule for the trial dates of May 31, 2022

through June 10, 2022, including two status conferences during preparations:


              Filing or Event                             Filing Deadline or Date

              Proposed Status Conference 1                March 21, 2022

              Plaintiffs’ Pre-Trial Memorandum,           March 25, 2022
              Witness List and Exhibit List, and any
              motions for leave under Appx. A ¶
              15(b), pursuant to RCFC Appx. A, ¶¶
              14(a), 15 and 16.

              Defendant’s Pre-Trial Memorandum,           April 22, 2022
              Witness List and Exhibit List, and any
              motions for leave under Appx. A ¶
              15(b), pursuant to RCFC Appx. A, ¶¶
              14(b), 15 and 16.

              Proposed Status Conference 2                May 2, 2022



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               Filing of joint stipulations of fact and        May 10, 2022
               joint exhibit list.

               Pre-Trial Conference                            May 23, 2022

               Trial, Houston, TX                              May 31 – June 10, 2022



       This proposed schedule has been jointly prepared by the parties and is filed by Defendant’s

counsel of record with the consent of Plaintiffs’ co-lead counsel.



Dated: March 1, 2022

                                                          Respectfully submitted,

                                                          TODD KIM
                                                          Assistant Attorney General
                                                          Environment & Natural Resources Division

                                                          s/ Kristine S. Tardiff
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